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Case 1:05-cv-01124-.]DT-STA Document 12 Filed 08/19/05 Page 1 of 4 Pagél@ 25
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lN THE UNITED sTATES DISTRICT COURT 57 7 9 o

 

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FoR THE WESTERN DISTRICT oF TENNESSEE f,:f`;@ 7 7 ”'/e./
EASTERN DIVISION "`///%:7@ ‘9
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"’*T"Q;/Oi/a
M.ARK WALKER,
Plaintiff,
VS. NO. 05-1]24-T/Ar1

CORRECTIONS CORPORATION OF
AMERICA, ET AL.,

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Def`endants.

 

ORDER DENYING l\/IOTION FOR RECONSIDERATION

 

Plaintif`f l\/Iark Wall<er, a prisoner acting pro se, filed a complaint pursuant to 42
U.S.C. § 1983. On July 14, 2005 the Court dismissed the case without prejudice pursuant
to 42 U.S.C. § l997e(a). Judgment was entered on the docket on July 20, 2005 .‘ On August
l7, 2005, the Clerk received and filed a document styled as a response to the order of
dismissal and a motion for reconsideration The certificate of service on the motion is dated
August l 1, 2005.

In order to be timely, a motion to alter or amend the judgment under Federal Rule of`
Civil Procedure 59(e) must be filed within ten days after the entry of judgment Plaintiff’s

motion was not filed within that ten-day period. Therefore, the Court will construe the

 

l On August 5, 2005, the Sixth Circuit Court oprpeals received a letter from the plaintiff in which he

stated his intent to file an appeal. The Clerk of the Sixth Circuit treated the letter as a notice of appeal and
forwarded the document to this Court for filing in accordance with Federal Rule of Appellate Procedure 4(d).

This document entered on the docket sheet ln com llance
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Case 1:05-cv-01124-.]DT-STA Document 12 Filed 08/19/05 Page 2 of 4 Page|D 26

motion as seeking relief from judgment under Rule 60(b), Which provides, in part;

On motion and upon such terms as are just, the court may relieve a party . . .

from a final judgment, order, or proceeding for the following reasons:

(l ) mistake, inadvertence, surprise, or excusable neglect; (2) newly discovered

evidence Which by due diligence could not have been discovered in time to

move for a new trial . . . ; (3) fraud . . . , misrepresentation, or other

misconduct of an adverse party; (4) the judgment is void', (5) the judgment has

been satisfied, released, or discharged, . . . ; or (6) any other reason justifying

relief from the operation of the judgment The motion shall be made within

a reasonable time . . . . A motion under this subdivision (b) does not affect the

finality of a judgment or suspend its operation. . . .

Walker asserts that the Court erroneously dismissed his entire complaint without
prejudice under 42 U.S.C. § l997e(a). This is a claim oflegal error, which the Sixth Circuit
considers a ground for reliefunder Rule 60(b)(1), Barrier v. Beaver, 712 F.2d 231, 234 (6th
Cir. l 983), cited in Pierce v. United l\/line Workers of Am. Welfare and Retirement Fund for
1950 and 1974, 770 F.2d 449, 451-52 (6th Cir. 1985); see also Jalaneno Prop. Mgmt.. LLC
v. Dul<as, 265 F.3d 506, 515 n.l (6th Cir. 2001); Jones v. Gundy, 100 F. Supp 2d 485, 487
(W.D. Mich. 2000).

ln the order of dismissal, the Court determined that plaintiff` s complaint contained
both claims for which he had exhausted his administrative remedies and claims for which
he had not sufficiently demonstrated exhaustion Therefore, the complaint was dismissed
pursuant to § 1997e(a). Plaintiff now argues that the Court should have allowed him to

amend his complaint prior to dismissing it, and should have dismissed only the unexhausted

claims while considering the exhausted claims on the merits.

Case 1:05-cv-01124-.]DT-STA Document 12 Filed 08/19/05 Page 3 of 4 Page|D 27

As discussed in the order of dismissal, the Sixth Circuit held, in Jones Bey v.
J_ol_g_nso_n, 407 F.3d 801 , 805-09 (6th Cir. 2005), that a district court must dismiss aprisoner’s
complaint in its entirety if it contains both exhausted and unexhausted claims, rather than
attempting to sever the claims and dismissing only those that are unexhausted In addition,
it is the law in the Sixth Circuit that a prisoner may not amend his complaint to cure a failure
to fully allege exhaustion &§ Baxter v. Rose, 305 F.3d 486 (6th Cir. 2002). Thus,
plaintit`f’ s arguments are without merit.

Plaintif`f has presented nothing to persuade the Court that he is entitled to relief from
the judgment in this case. Therefore, the motion to reconsider is DENIED.

The Court once again CERTIFIES, pursuant to 28 U.S.C. § 1915(a)(3), that
plaintiff`s appeal is not taken in good faith.

IT lS SO ORDERED.

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Notice of Distribution

This notice confirms a copy of the document docketed as number 12 in
case 1:05-CV-01124 was distributed by fax, mail, or direct printing on
August 22, 2005 to the parties listed.

 

Mark Walker

HCCF

292656

P.O. Box 549

2520 Union Springs Rd.
Whiteville, TN 38075

Honorable J ames Todd
US DISTRICT COURT

